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                                     UNITED STATES DISTRICT COURT
                                        DISTRICT OF COLORADO
                                         1:19-cv-00484-RBJ-SKC

                                            FILED ELECTRONICALLY

 TOM WAGNER et al.                                                                                         PLAINTIFFS

 v.

 AIR METHODS CORPORATION, a Colorado Corporation    DEFENDANT
 ____________________________________________________________

                PLAINTIFFS’ UNOPPOSED MOTION FOR
         PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
 ____________________________________________________________

          The Plaintiffs submit this unopposed Motion for Preliminary Approval of the

 class action settlement.

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 EXHIBIT A – SETTLEMENT AGREEMENT


 I.        INTRODUCTION1

           The parties reached agreement on the Class Action Settlement Agreement and

     Release (Settlement Agreement) after exhaustive litigation and years of intense

     negotiations. The Settlement reached includes a monetary maximum Gross Settlement

     Fund amount of $4,093,000, which includes up to $1,227,900 in attorneys’ fees (30% of

     the common fund) and $45,765.83 in costs. Plaintiffs submit this unopposed Motion for

     preliminary approval of the Settlement for the class action pursuant to Fed. R. Civ. P.

     23.

           On February 19, 2019, Plaintiffs brought this action on behalf of all current and

     former flight paramedics and nurses in Illinois, Michigan and other states not relevant

     to this Motion2 who worked for the                 Defendant, Air Methods Corporation


 1Please see the Class Action Settlement Agreement and Release (Exhibit A) for definition of terms used in
 this Motion.

 2 Those other states were Indiana, Maryland, and North Carolina. However, it was later discovered that
 state claims in those states were not cognizable.


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  (“Defendant” or “AMC”) for unlawfully deducted “sleep time” from employees’

  overtime calculations. Plaintiffs alleged that all class members suffered from

  Defendants’ practice of failing to pay overtime for all hours, including sleep time,

  worked in excess of forty (40) hours in a week. Plaintiffs then subsequently filed their

  First Amended Complaint which included claims for flight paramedics and nurses

  working for AMC in New Mexico during the class period. Accordingly, it is named

  Plaintiffs’ contention that Defendants’ alleged failure to pay overtime pay to Plaintiffs

  and all other similarly situated employees for all hours worked over forty (40) in a

  workweek violates the wage and hour statutes of Illinois, Michigan and New Mexico.

  Defendant denies such allegations and contend that they complied with the various

  state laws.

 II.    FACT AND PROCEDURAL HISTORY

        After intense litigation of the issues and briefing of same by the parties, this

 Court entered an Order on December 29, 2020 (Doc. #92) which served to grant

 Plaintiffs’ Motion for Class Action Certification. The Court certified three overtime

 classes as follows: “All persons employed by AMC as flight paramedics or flight nurses

 in [Michigan][New Mexico][Illinois] from February 19, 2016 to the present.” (Id., p.

 10). The Court further appointed Arnold & Miller, J. Robert Cowan, and Moody &

 Stanford as class counsel. (Id.).

        The parties continued to vigorously litigate this matter while at the same time

 continuing negotiations in the hopes of resolving same. The parties have engaged in

 considerable discovery.      Defendants produced, and Plaintiffs analyzed, tens of

 thousands of pages of documents, including payroll and time records for over 600

 AMC employees in Illinois, Michigan and New Mexico. Several of the named plaintiffs


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 were deposed, and experts3 were hired by each side to review and analyze the payroll

 and associated documents produced in this action.

        Throughout this entire time period, the parties continued to negotiate. However,

 those negotiations ultimately did not bear fruit and both parties then filed Motions for

 Partial Summary Judgment on the liability issue in this matter (i.e., did each or any of

 the three states adopt the FLSA’s sleep time exemption). By Order dated May 17, 2021,

 this Court entered summary judgment in favor of AMC on the Michigan and New

 Mexico plaintiffs’ claims, and entered summary judgment in favor of the Illinois’

 plaintiffs. (Doc. # 113). Following the entry of this Order, with each side realizing the

 risks of further litigation and appeals, the parties continued to negotiate and attempted

 to resolve all of the Plaintiffs’ claims, realizing the impact of the Court’s summary

 judgment orders.

        These negotiations resulted in an agreement to settle the Plaintiffs’ claims on the

 terms set forth in the Settlement Agreement (attached hereto as Exhibit A).

 Specifically, following extensive negotiations, the parties agreed to settle Plaintiffs’

 claims as to all current and former flight paramedics and nurses who worked for AMC

 in Illinois, Michigan and/or New Mexico from February 19, 2016 to the present, despite

 summary judgment having been granted AMC with respect to New Mexico and

 Michigan.

        The parties and their counsel recognize that, in the absence of an approved

 settlement, they would face a continued long and uncertain litigation course, including

 potential further motions and possible appeals related to class certification, further



 3The experts’ opinions about the base overtime wage owed (if AMC violated the state statutes) were in
 conformity and almost exactly the same.


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 discovery and discovery-related motions, expert discovery, further motions for

 summary judgment, motions in limine, trial and potential appellate proceedings. The

 remaining aspects of the litigation would consume significant amounts of time and

 resources and present the parties with ongoing litigation risks and uncertainties. The

 parties desire to avoid these risks and uncertainties, as well as the loss of time and

 resources, and thus, determined that a settlement pursuant to the terms and conditions

 of the tendered Settlement Agreement would be more beneficial than continued

 litigation. Plaintiffs’ counsel believe the terms of the Settlement Agreement are in the

 best interests of the class and are fair, reasonable, and adequate.

 III    SUMMARY OF SETTLEMENT

        As stated above, this Court has already certified three classes, as follows: “All

 persons employed by AMC as flight paramedics or flight nurses in [Michigan][New

 Mexico][Illinois] from February 19, 2016 to the present.” The Court has further

 appointed Arnold & Miller, J. Robert Cowan, and Moody & Stanford as class counsel.

        The Court certified a class of 634 members on December 29, 2020, based on

 information then available to the parties and the Court. It was subsequently learned,

 and agreed to between the parties, that the actual total class size was 668. The Class

 Administrator mailed Notices to all 668 class members on February 19, 2021. A total of

 34 class members submitted opt-out forms, ultimately leaving a class size of 634,

 although the records demonstrate that not all of them are actually owed some amount

 of overtime compensation in this matter.

        If approved, the Defendants will pay the total settlement amount (Gross




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 Settlement Fund), in two installments,4 into a settlement fund to resolve the claims as

 detailed in the Settlement Agreement. Class Members who fail to opt-out will receive

 their share of the Net Settlement Fund (as calculated based upon a review of AMC’s

 time and payroll records) – after deductions for the approved attorneys’ fees and costs

 for Class Counsel ($1,227,900 in attorneys’ fees and $45,765.83 in costs). Any

 outstanding and yet-to-be incurred third-party Administrator’s fees and costs, as well

 as the applicable employer-side payroll taxes will be paid by AMC in addition to the Net

 Settlement Amount. The Net Settlement Fund will be administered by the

 Administrator, Rust Consulting.

        AMC will provide the Administrator the last known address for each class

 member.     The Settlement Agreement provides for the Administrator to engage in

 several layers of outreach to the Settlement Class Members. The notice plan under the

 Settlement Agreement comports with best practices regarding notice to make

 participation as easy as possible for the Class Members. For example, the Administrator

 is required to, inter alia, finalize and mail the Notice to Class Members; maintain a

 static website where the Notice can be downloaded; and independently respond to the

 inquiries of class members regarding relevant procedures.

        The Administrator shall send a notice of this Settlement to each individual who

 is a member of the Settlement Class. If a notice is returned by the post office as

 undeliverable, the Administrator will attempt to ascertain current address and other

 addressee information, and will promptly re-mail the Notice and Opt-Out Form to the

 Settlement Class members for whom a new address is found. For members of the Class



 4The parties have agreed that all payments under the Settlement Agreement will be effectuated in two
 equal installments, twelve (12) months apart.


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 who do not timely submit a valid and enforceable request for exclusion, all of their

 claims will be released and barred by the Settlement once it is final.

        Using the Class Lists which will be provided by AMC, the Administrator will make

 reasonable efforts to best ensure that each member of the Settlement Class receives a

 Settlement Notice, which shall set forth the material Settlement terms; instructions on

 how members of the Class may exclude themselves from, or submit objections to, the

 Settlement; and, when and where to appear at the final approval hearing, among other

 important information. A copy of the proposed form of Settlement Notice and Opt-Out

 Form are attached to the Settlement Agreement as Exhibit A-2 and A-3, respectively.

        After final approval of the Settlement or after the final approval hearing, the

 completion of settlement administration, and within seven (7) days after the Court’s

 final approval order becomes a final un-appealable order, and upon further order of the

 Court, the Settlement Administrator will mail the first Individual Settlement Payments

 to class members who have not opted-out, with the second and final payments being

 mailed twelve (12) months thereafter.

        Individual Settlement Payments were calculated based upon a review of AMC’s

 time and payroll records to establish the full amount of unpaid overtime that otherwise

 would be owed to Class Members assuming Named Plaintiffs’ class claims were true. A

 list of all Individual Settlement Payments is attached to the Settlement Agreement as

 Exhibit A-1. The Net Settlement Fund will be divided into two funds: (1) The Illinois

 Fund shall be $1,813,685.35 and the Michigan and New Mexico Fund shall be

 $908,148.82 ($865,562.79 for New Mexico and $42,586.03 for Michigan). These

 amounts shall be divided and allocated to the Settlement Class Members on a pro-rata




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 basis based upon the amount of claimed overtime hours worked by the Settlement Class

 Member during the Settlement Period.

        For Illinois, each Class Member will receive a sum equal to 90% of the total

 damages due to each Illinois class member, which is comprised of the actual overtime

 wages due to each Class Member plus liquidated damages provided for by the

 appropriate Illinois statute. These liquidated damages were calculated by taking 2% of

 the unpaid overtime per month from February 19, 2016 through February 29, 2019,5

 and twice the unpaid overtime wages from February 19, 2019 through the Court’s

 preliminary approval of the settlement.

        For New Mexico, each Class Member will receive a sum equal to 36% of the

 unpaid overtime wage calculated for each such Class Member. Class counsel believes

 this to be an excellent result for the New Mexico Class Members, particularly

 considering that AMC was granted Summary Judgment by this Court on those claims,

 and considering the risks of further litigation and appeals relating to those claims.

        For Michigan, each Class Member will receive a sum equal to 25% of the unpaid

 overtime wage calculated for each such Class Member. Class counsel believes this to be

 an excellent result for the Michigan Class Members, particularly considering that AMC

 was granted Summary Judgment by this Court on those claims, and that Michigan law

 gained clarity since the filing of this action on such claims.

        In addition, each named Plaintiff will receive a Service Payment of Seven

 Thousand Five Hundred Dollars ($7,500). The contemplated payments above are not

 affected in any way by the Attorney’s Fees and Costs requested herein. In other words,



 5The Illinois statute was changed on February 19, 2019 to provide for liquidated damages of twice the
 amount of overtime owed.


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 those Attorneys’ fees and costs are in addition to the payments to the Settlement Class

 set forth above. Pursuant to the agreement, Class Counsel will petition the Court for

 $1,227,900 in attorneys’ fees which equates to 30% of the Gross Settlement Fund, and

 for $45,765.83 in expended costs and expenses. The Attorneys’ Fees, Costs and

 Expenses application will be filed in connection with a Motion for Final Approval.



             Proposed Schedule for Preliminary & Final Approval:

       The Plaintiffs request that, along with granting preliminary approval of the

 Settlement Agreement, the Court adopt the schedule set forth below and more fully in

 the Settlement Agreement, for the parties to effectuate the various steps in the

 settlement approval process under the Settlement Agreement:

  Event                                       Deadline
  Defendant shall provide notification of Within 10 calendar days after entry of the
  settlement to appropriate state and Preliminary Approval Order.
  federal officials pursuant to 28 USC 1715.
  Defendants    shall       provide      the Within 14 calendar days after the entry of
  Administrator   with        the      Class the Preliminary Approval Order.
  Information.
  The Administrator will send a copy of the Within 21 calendar days after receiving
  Notice Packet to Class Members.           the Class Information from Defendants.
  Class Members must submit any disputes Within 30 calendar days after the original
  with Class Information to Administrator. mailing of the Notice Packets.
  Class Members wishing to request Within 30 calendar days after the original
  exclusion must submit an Opt-Out mailing of the Notice Packets.
  Statement to the Administrator.
  Class Member wishing to object must file Within 30 calendar days after the original
  with the Court and serve on all Parties a mailing of the Notice Packets.
  written statement of objection.
  Class Counsel shall file with the Court a Within 60 calendar days of the original
  Motion for Final Approval.                mailing of the Notice Packets.
  Defendants shall provide one-half of the Within 7 calendar days after the Effective
  Gross   Settlement     Fund    to    the Date of this Settlement.


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  Administrator.
  The Administrator shall disburse one-half Within 7 calendar days after receiving the
  of the Gross Settlement Fund.             Gross Settlement Fund.
  Defendants shall provide the second half Within 12 months after the Effective Date
  of the Gross Settlement Fund to the of this Settlement.
  Administrator.
  The Administrator shall disburse the Within 7 calendar days after receiving the
  second half of the Gross Settlement Fund. second half of the Gross Settlement Fund.

        Plaintiffs submit that the Settlement satisfies all the criteria for preliminary

 settlement approval under federal and state law in that it falls well within the range of

 possible approval, and is fair, reasonable, and adequate. Class Counsel believes that

 resolution of the Class Claims is in the best interest of the members of the Class, in light

 of all known facts and circumstances, including the significant risks and delays of

 continued litigation that are presented by the defenses and potential pre-trial and

 appellate issues AMC may assert. A resolution of the claims at this stage – rather than

 following motion practice and briefing, expert discovery, motions for de-certification,

 pretrial proceedings, which would include a battle over representative proof and

 potential trial, and the costs attendant upon and likely to be incurred through such

 activities – most certainly greatly inures to the benefit of the members of the Class. In

 addition, the Named Plaintiffs approve of and consent to the Settlement. Thus, Plaintiffs

 request that this Court grant this Unopposed Motion for Preliminary Approval of the

 Class Action Settlement.


 IV.    ARGUMENT & AUTHORITIES

        By this Motion, Plaintiffs seek preliminary approval of the Settlement Agreement.

 “The inveterate policy of the law is to encourage, promote, and sustain the compromise

 and settlement of disputed claims.” Am. Home Assurance Co. v. Cessna Aircraft Co.,


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 551 F.2d 804, 808 (10th Cir. 1977). “Compromises of disputed claims are favored by the

 courts.” Williams v. First Nat’l Bank, 216 U.S. 582, 595 (1910), citing Hennessy v.

 Bacon, 137 U.S. 78 (1890). “The authority to approve a settlement of a class is in the

 sound discretion of the trial court.” Alvarado Partners, L.P. v. Mehta, 723 F.Supp. 540,

 546 (D. Colo. September 15, 1989), citing Jones v. Nuclear Pharmacy, Inc., 741 F.2d

 322, 324 (10th Cir. 1984). As discussed more fully below, the Settlement Agreement is

 fair, adequate and reasonable and well within the range of possible outcomes and

 should be preliminarily approved.

    A. Preliminary Approval of the Settlement is Appropriate.

           1. The Standard & Procedures for Preliminary Approval.

        Rule 23 governing settlements provide that the court should preliminarily

 approve the settlement and approve giving notice to the class members if the parties’

 showing allows the court to determine it would “likely be able to:” 1) approve the

 proposed settlement under Rule 23(e)(2); and, 2) certify the class for the purpose of

 entry of a judgment on the proposal. Fed. R. Civ. P. 23(e)(1)(B); see also 4 W.

 Rubenstein, Newberg on Class Actions § 13:13 (5th ed. 2019). In deciding whether to

 approve a settlement in a class action, a court must determine whether the settlement is

 “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2).

        A court considers the following four factors in reviewing a proposed class action

 settlement: (1) whether the proposed settlement was fairly and honestly negotiated; (2)

 whether serious questions of law and fact exist, placing the ultimate outcome of the

 litigation in doubt; (3) whether the value of an immediate recovery outweighs the mere

 possibility of future relief after protracted and expensive litigation; and (4) the judgment

 of the parties that the settlement is fair and reasonable. See Rutter & Wilbanks Corp. v.


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 Shell Oil Co., 314 F.3d 1180, 1188 (10th Cir.2002), and Jones v. Nuclear Pharmacy, Inc.,

 741 F.2d 322, 324 (10th Cir. 1984).6

         New amendments to Rule 23 became effective on December 1, 2018. These

 amendments gave four new factors a court must find to render an agreement as fair,

 reasonable, and adequate: (A) the class representatives and class counsel have

 adequately represented the class; (B) the proposal was negotiated at arm's length; (C)

 the relief provided for the class is adequate, taking into account: (i) the costs, risks, and

 delay of trial and appeal; (ii) the effectiveness of any proposed method of distributing

 relief to the class, including the method of processing class-member claims; (iii) the

 terms of any proposed award of attorney's fees, including timing of payment; and (iv)

 any agreement required to be identified under Rule 23(e)(3); and, (D) the proposal

 treats class members equitably relative to each other. Fed. R. Civ. P. 23(e)(2).

         The advisory committee noted these new factors were not meant to displace any

 circuit's unique factors, but rather to focus courts on the core concerns in deciding

 whether to approve a proposed settlement. See Chavez Rodriguez v. Hermes

 Landscaping, Inc., 2020 WL 3288059, at *2 (D. Kan. June 18, 2020) (citing Fed. R. Civ.

 P. 23, advisory committee's note to 2018 amendment). The Tenth Circuit's additional

 factors largely overlap, with only the fourth factor not being subsumed into the new

 Rule 23. See id. Accordingly, a court considers the Rule 23(e)(2) factors as the main tool

 in evaluating the propriety of the settlement, but still addresses the Tenth Circuit's

 factors. Peace Officers’ Annuity and Benefit Fund of Georgia v. DaVita, 2021 WL

 1387110, at *3 (D. Colo. April 13, 2021). The review at this stage is not as stringent as

 6“Although the Court will consider these factors in depth at the final approval hearing, they also provide a
 useful guide at the preliminary approval stage.” Pliego v. Los Arcos Mexican Restaurants, Inc., 313 F.R.D.
 117, 128 (D. Colo. February 8, 2016), quoting In re Motor Fuel Temperature Sales Practices Litig., 258
 F.R.D. 671, 680 (D.Kan.2009).


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 that applied for final approval. Ross v. Convergent Outsourcing, Inc., 323 F.R.D. 656,

 659 (D. Colo. 2018) (quoting In re Motor Fuel Temp. Sales Practices Litig., 286 F.R.D.

 488, 492 (D. Kan. 2012)).

         Additionally, courts have recognized a presumption of fairness, reasonableness,

 and adequacy as to the settlement where “a class settlement [is] reached in arm’s-length

 negotiations between experienced, capable counsel after meaningful discovery.” Lucas

 v. Kmart Corp., 234 F.R.D. 688, 693 (D. Colo. March 22, 2006), citing Wal-Mart Stores

 v. Visa U.S.A., Inc., 396 F.3d 96, 116 (2nd Cir. 2005). As set forth below, elements of

 Rule 23 were previously determined to be met in the Court’s analysis of class

 certification, and remain so with respect to the proposed Settlement. In addition, the

 Court should find that the Rutter & Wilbanks factors, as well as those in the new

 amendments to Rule 23 are all satisfied, and that settlement under Rule 23 is warranted

 here.

            2. The Prerequisites of Rule 23(a) Remain Satisfied.

         To maintain a lawsuit as a class action under Rule 23 of the Federal Rules of Civil

 Procedure, a named plaintiff must establish each of the four threshold requirements of

 subsection (a) of the Rule, which provides:

         One or more members of a class may sue or be sued as representative
         parties on behalf of all only if: (1) the class is so numerous that joinder of
         all members is impracticable; (2) there are questions of law or fact
         common to the class; (3) the claims or defenses of the representative
         parties are typical of the claims or defenses of the class; and (4) the
         representative parties will fairly and adequately protect the interests of the
         class.

 Fed. R Civ. P. 23(a).

         Here, AMC has conceded, and this Court has previously found, that there are 634

 members of the class (numerosity), which were all subjected to the same overtime “sleep


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 time” policy (commonality and typicality). AMC concedes, and the Court has previously

 found, that the named Plaintiffs and their counsel can fairly and adequately protect the

 interests of the class.

            3. The Prerequisites of Rule 23(b)(3) Remain Satisfied.

         Under Rule 23(b)(3) a class action may be maintained if:

           [T]he court finds that the questions of law or fact common to class
           members predominate over any questions affecting only individual
           members, and that a class action is superior to other available
           methods for fairly and efficiently adjudicating the controversy. The
           matters pertinent to these findings include: (A) the class members'
           interests in individually controlling the prosecution or defense of
           separate actions; (B) the extent and nature of any litigation
           concerning the controversy already begun by or against class
           members; (C) the desirability or undesirability of concentrating the
           litigation of the claims in the particular forum; and (D) the likely
           difficulties in managing a class action.

 Fed. R. Civ. P. 23(b)(3).

        All 634 members of the class were subjected to the same “sleep time” deduction

 from overtime compensation. Thus, the common questions of law (i.e. whether AMC

 was allowed to deduct “sleep time” from its’ overtime calculation) and fact (all members

 were subjected to same policy) predominate.

            4. The proposed settlement was fairly and honestly negotiated.

        The proposed Settlement was not the product of collusive dealings, but, was the

 result of years of vigorous litigation and subsequent negotiation by experienced and

 qualified counsel. Plaintiffs firmly contend that the Settlement was reached as the result

 of good-faith, arms-length dealings (and there is no evidence or argument to the

 contrary). In addition, the Settlement was, in part, ultimately aided by the assistance of




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 an experienced mediator7 well-versed in the nuances of wage and hour class actions, and

 settlement efforts ultimately benefited from the direct input of the Court during its last

 pretrial telephonic conference involving all counsel of record. Thus, this factor weighs in

 favor of approving the Settlement.

             5. Serious questions of law and fact exist, placing the ultimate
                outcome of the litigation in doubt.

         In its Order on Cross-Motions for Summary Judgment (Doc. #113), the Court

 effectively dismissed the claims of two of the three states involved in this action.

 Thereafter, Plaintiffs filed a Motion to Reconsider, asking the Court to re-visit its

 analysis as to New Mexico (the largest of the three states in terms of damages). During

 settlement negotiations which continued following entry of the Court’s Order, counsel

 for both sides expressed opinions regarding the possibility that their respective clients

 might eventually appeal from that Order. Thus, while the claims on only one state were

 still set for trial when settlement was reached, and although the damages for that state

 were largely agreed to8, serious questions of law did still exist as of the date on which

 the proposed settlement was finally agreed to, thereby placing the ultimate outcome of

 the entire litigation in doubt.

         The Parties have filed numerous papers with the Court setting forth their

 respective legal positions. During settlement negotiations, counsel argued to each

 other numerous points as to the strengths and weaknesses of each party’s position on

 those claims. The forthright nature of the back-and-forth between the sides focused the


 7Even though the formal mediation in this matter did not produce a settlement at the time, Class Counsel
 believes that the mediation was ultimately a factor which aided in the eventual settlement now proposed.

 8With one major exception as to the calculation of statutory interest on any damage award, and concerns
 expressed by the Court and defense counsel that the Illinois statute in question was vague at best, and
 possibly unconstitutional at worst.


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 Parties on the legal and factual issues presented by the claims. This Settlement will

 resolve the legal risks associated with those claims, which the Plaintiffs fully

 appreciate.

        Class Counsel and the Plaintiffs believe that the settlement amount (Gross

 Settlement Fund and Net Settlement Fund) are not only reasonable, but an excellent

 result given the risks of litigating the claims and the potential recovery. Specifically,

 while the recovery would possibly be greater if the class were to fully succeed on their

 claims at trial and survive an appeal, there is the possibility of zero recovery should

 AMC ultimately prevail. Not surprisingly, AMC contends that there has been no

 violation of the applicable state laws and therefore there is no basis for damages.

 Nonetheless, as a result of Plaintiffs’ extensive efforts, the parties were able to agree to

 the terms of the Settlement.

           6. The value of an immediate recovery outweighs the mere
              possibility of future relief after protracted and expensive
              litigation.

        The “value of an immediate recovery” means the “monetary worth of the

 settlement.” Gottlieb v. Wiles, 11 F.3d 1004, 1015 (10th Cir. 1993), abrogated on other

 grounds by Devlin v. Scardelletti, 536 U.S. 1 (2002). This value should be measured

 against “the possibility of some greater relief at a later time, taking into consideration

 the additional risks and costs that go hand in hand with protracted litigation.” Id. at

 1015. When the risks of further litigation could result in no recovery for Class

 Members, or a significantly lower recovery than the current settlement, it is prudent for

 the parties to “take the bird in the hand instead of a prospective flock in the bush.”

 Oppenlander v. Standard Oil Co. (Indiana), 64 F.R.D. 597, 624 (D. Colo. 1974)

 (citation omitted). For these reasons, the value of an immediate settlement can far


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 outweigh the uncertainty of any future relief, justifying approval of a Settlement

 Agreement. See Pliego v. Los Arcos Mexican Restaurants, Inc., 313 F.R.D. 117, 130-31

 (D. Colo. February 8, 2016).

        First, with respect to the Plaintiffs’ range of possible recovery, Plaintiffs believe

 that the value of the Settlement is fair and reasonable given the various challenges

 facing Plaintiffs. Specifically, based upon the multiple risks continued litigation would

 entail, and the risk that Plaintiffs and the putative class could recover nothing,

 Plaintiffs believe the proposed Settlement is fair, adequate, and reasonable. As held in

 Davis v. J.P. Morgan Chase & Co., “it is unnecessary to scrutinize the merits of the

 parties’ positions, but it is fair to say that there would have been an uncertain outcome,

 and significant risk on both sides, had this case gone to trial.” 827 F. Supp. 2d 172, 178

 (W.D.N.Y. 2011). Thus, this factor weighs in favor of approving the Settlement.

        Second, with respect to the extent that settlement will enable the parties to avoid

 the burdens and expense of trial and appeals, the prosecution of this case has been and

 would continue to be lengthy and expensive. If this Settlement is not approved, the

 Parties face an extended and costly battle with additional expensive motion practice,

 motions for decertification, trial preparation and trial that would likely be costly, in

 addition to lengthy appeals. Further, if the Parties do not settle the Plaintiffs’ claims, it

 would likely take several years (in addition to the over two years the case has been

 pending) and additional legal fees before reaching final resolution of those claims,

 including exhaustion of all appeals. Thus, this factor weighs in favor of approving the

 Settlement.

        Third, with respect to the risks faced by the Parties, litigation—and especially

 class actions—inherently involve risks. The risks to both sides are apparent here. While


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 Plaintiffs believe they would prevail on their appeals of the Summary Judgments

 granted by the Court for New Mexico and Michigan, Defendants would certainly mount

 a strong and costly challenge based upon its arguments set forth in their various

 papers to this Court, and further believe that they would prevail in reversing this

 Court’s grant of Summary Judgment to the Illinois class on appeal. Obviously, it is hard

 to predict how the 10th Circuit Court of Appeals would handle the appeals that would

 certainly be filed absent settlement, and each side bears great risks going forward

 absent settlement. Accordingly, this factor further weighs in favor of approving the

 Settlement. Again, as held in David v. J.P. Morgan Chase & Co., supra, “Since the

 Court cannot foresee with absolute certainty the outcome of the case, the Court need

 only assess the risks of litigation against the certainty of recovery under the proposed

 settlement.” Id. at 177. (Internal citations omitted).

           7. It is the judgment of the parties that the settlement is fair and
              reasonable.

        The Parties agree that the Settlement Agreement is fair and reasonable, and

 believe the Court should accord substantial weight to the conclusion of counsel for all

 parties that the proposed settlement is fair and reasonable for all putative class

 members. Counsel for both Plaintiffs and Defendant have litigated numerous state law

 wage and hour class actions in multiple jurisdictions, and have negotiated settlements

 on both an individual and a class-wide basis. They are, therefore, experienced in

 addressing the issues that arise in complex litigation and settlements. Thus, the

 judgment of the parties and their counsel as to fairness and reasonableness should be

 relied upon by the Court.

           8. Rule 23(g) is Satisfied. The class representatives and class
              counsel have adequately represented the class.


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           Rule 23(g) requires a court that certifies a class to appoint class counsel, taking

 into consideration four factors: (i) the work counsel has done in identifying or

 investigating potential claims in the action; (ii) the counsel’s experience in handling

 class actions, other complex litigation, and the types of claims asserted in the action;

 (iii) counsel’s knowledge of the applicable law; and (iv) the resources that counsel will

 commit to representing the class. Fed. R. Civ. P. 23(g)(1)(A). “These standards are

 generally met with members of the bar in good standing typically deemed qualified and

 competent to represent a class absent evidence to the contrary.” Newberg on Class

 Actions § 3:72 (5th ed.) This Court has already approved Class Counsel in this matter

 (See Order granting class certification, Doc. #92), and nothing has changed since that

 ruling.

           In the matter sub judice, Plaintiffs’ counsel has expended an inordinate amount

 of time and resources litigating this matter and analyzing the tens of thousands of pages

 produced by Defendants in discovery. Counsel and their hired experts completed a

 calculation for all 634 class members, which required the analysis of each employee’s

 daily time records and bi-weekly pay stubs, followed by additional application of each

 state’s respective law relative to statutory damages and/or interest. Upon final analysis,

 the Plaintiffs’ damage calculation of overtime wage allegedly owed matched almost

 exactly with Defendant’s calculation.        In total, Plaintiffs were represented by five

 attorneys from three different law firms, all of whom employed support staff, an

 economics expert witness, and a third-party vendor to aid in formatting the data. In

 other words, adequate resources were committed to representing the class.




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           9. The relief provided to the class is adequate, and the Proposed
              Settlement treats class members equitably relative to each
              other.

       For reasons stated hereinabove, Plaintiffs believe that the relief provided under

 the Proposed Settlement Agreement is adequate, taking into account: (i) the costs, risks,

 and delay of trial and appeal; (ii) the effectiveness of any proposed method of

 distributing relief to the class, including the method of processing class-member claims;

 (iii) the terms of any proposed award of attorney's fees, including timing of payment;

 and, (iv) the content of the Settlement Agreement itself. The Plaintiffs also believe that

 the proposal treats all class members equitably relative to each other, primarily by virtue

 of the relative allocation of net settlement funds among the three states involved.

       As set out in more detail hereinabove, the Proposed Settlement includes class

 members from all three states originally involved in this action, even though the claims

 of class members of two of the three states were effectively dismissed by virtue of the

 Court’s Order on Cross-Motions for Summary Judgment (Doc. #113). In light of the

 possibility that both Plaintiffs and Defendant could ultimately appeal that ruling, even

 after a trial in the matter, the parties chose to include class members from all three

 states in the Proposed Settlement. The Plaintiffs assert, and Defendant agrees by virtue

 of its non-opposition to this Motion, that the class members of each state are treated

 equitably under the Proposed Settlement in two significant respects: (1) within each

 state class, each member will receive the same percentage of their actual, respective

 damages as every other member of that state class; and, (2) the Illinois Class members

 will each receive Ninety Percent (90%) of their respective damages, while the New

 Mexico Class members will each receive Thirty Six Percent (36%) of their respective

 damages and the Michigan Class members will each receive Twenty-Five Percent (25%)


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 of their respective damages, with that allocation method reflecting the respective

 differences between possibilities of ultimate recovery for each class should the matter

 not be settled but be litigated through trial and the appellate process.

           10. The service payments to named Plaintiffs are reasonable.

        “[N]amed plaintiffs...are eligible for reasonable incentive payments” as part of a

 class action settlement. Pliego v. Los Arcos Mexican Restaurants, Inc., 313 F.R.D. 117,

 131 (D. Colo. February 8, 2016), quoting Staton v. Boeing, 327 F.3d 938, 977 (9th

 Cir.2003). “[C]ourts regularly give incentive awards to compensate named plaintiffs for

 the work they performed – their time and effort invested in the case.” Chieftain

 Royalty Co. v. Enervest Energy Institutional Fund XIII- A, L.P., 888 F.3d 455, 468

 (10th Cir. 2017). “When considering the appropriateness of an award for class

 representation, the Court should consider: (1) the actions the class representative took

 to protect the interests of the class; (2) the degree to which the class has benefitted

 from those actions; and (3) the amount of time and effort the class representative

 expended in pursuing the litigation.” See Cook v. Niedert, 142 F.3d 1004, 1016 (7th Cir.

 1998); Lucken Family Ltd. P'ship, LLLP v. Ultra Res., Inc., 2010 WL 5387559, at *6

 (D. Colo. Dec. 22, 2010).

        The Proposed Settlement provides for a Service Payment of Seven Thousand

 Five Hundred Dollars ($7,500) for each class representative. The representative

 plaintiffs spent considerable time and effort working on the case with counsel. The

 litigation will yield individual payouts to class members of 90% of damages for the

 Illinois Class, and 36% and 25% for the New Mexico Class and Michigan Class

 (respectively) on claims which were dismissed. The representative plaintiffs’

 commitment to the case, the personal sacrifices of time while pursuing this litigation,


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 and the outcome achieved warrants a significant award in this case. Rothe v. Battelle

 Memorial Institute, 2021 WL 2588873 (D. Colo. June 24, 2021), quoting Frank v.

 Eastman Kodak Co., 228 F.R.D. 174, 187 (W.D.N.Y. 2005) (noting that service awards

 are especially appropriate in employment litigation where "the plaintiff is often a

 former or current employee of the defendant, and thus, by lending his name to the

 litigation, he has, for the benefit of the class as a whole, undertaken the risk of adverse

 actions by the employer or co-workers"). Therefore, the Court should conclude that the

 enhanced payments are reasonable compensation for the named Plaintiffs.

    B. The Proposed Form of Notice Satisfies Due Process.

          Pursuant to Fed. R. Civ. P. 23(e)(1), a district court, when approving a class

 action settlement, “must direct notice in a reasonable manner to all class members who

 would be bound by the proposal.” Additionally, “[f]or any class certified

 under Rule 23(b)(3), the court must direct to class members the best notice that is

 practicable under the circumstances, including individual notice to all members who can

 be identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). The Due Process

 Clause, moreover, gives unnamed class members the right to notice of the settlement of

 a class action. Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 313

 (1950); Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 173 (1974). “The hallmark of the

 notice inquiry … is reasonableness.” Lucas v. Kmart Corp., 234 F.R.D. 688, 696 (10th

 Cir. 2006). “In addition to the requirements of Rule 23, the Due Process Clause also

 guarantees unnamed class members the right to notice of a settlement.” Rothe v.

 Battelle Memorial Institute, 2021 WL 2588873 (D. Colo. June 24, 2021), citing DeJulius

 v. New England Health Care Emps. Pension Fund, 429 F.3d 935, 943-44 (10th Cir.

 2005).


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          Here, the proposed form of Notice provides clear and accurate information as to

 the nature and principal terms of the Settlement. This includes an explanation of the

 method for allocating the settlement funds to Class Members (within and among each of

 the three states), the process for opting-out of the Settlement Class, how to submit

 objections, and the consequences of taking or foregoing the various options available to

 members of the Settlement Class. The Notice will also provide details on the date, time

 and place of the final approval hearing. See Manual on Complex Litigation, Fourth Ed.

 (2004) at § 21.312. Pursuant to Fed. R. Civ. P. 23(h). The proposed form of Notice also

 sets forth the maximum amount of attorneys’ fees, expenses and costs which may be

 sought by Class Counsel.

          The parties agreed in the Settlement Agreement that a Notice and Opt-Out Form

 will be sent via first class U.S. Mail to the last known addresses of members of the

 Settlement Class based on Defendants’ records. Prior to sending the Notice, the

 Settlement Administrator will attempt to confirm the accuracy of each Settlement Class

 Member’s address by utilizing the U.S. Postal Service’s National Change of Address

 database.

          If a Notice is returned by the post office as undeliverable, the Settlement

 Administrator will perform a computerized skip trace search. The Settlement

 Administrator will then promptly re-mail the Notice to Settlement Class Members for

 whom a Notice was returned and a new address is found. Accordingly, the proposed

 form of the Notice complies with the Tenth Circuit’s standard of “reasonableness”

 required of a settlement-class notice disseminated under authority of the Court. Lucas,

 supra.

    C. The Attorneys’ Fees and Costs Should Be Preliminarily Approved.


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        In class action cases, counsel who obtain a common fund settlement are entitled

 to recover reasonable attorneys’ fees paid from the fund. See Gottlieb v. Bany, 43 F.3d

 474, 482 (10th Cir. 1994). Courts generally award attorneys’ fees in common fund cases

 “based on a percentage of the common fund obtained for the benefit the class,” thereby

 “proportionately spreading payment of attorney fees among the class members.” Lucken

 Family Ltd. P'ship, LLLP v. Ultra Res., Inc., 2010 WL 5387559, *2-3 (D. Colo. Dec. 22,

 2010). “The Tenth Circuit favors the common fund approach, as opposed to the lodestar

 method, because a percentage of the common fund is less subjective than the lodestar

 plus multiplier approach, matches the marketplace most closely, and is the better suited

 approach when class counsel was retained on a contingent fee basis, as in this case.” Id.

 (quotations omitted); see also Anderson v. Merit, 2009 WL 3378526 at *2 (D. Colo. Oct.

 20, 2009) (“Under Tenth Circuit law, attorneys’ fees in common fund cases are

 generally awarded based on a reasonable percentage of the fund created.”). See also

 Uselton v. Commercial Lovelace Motor Freight, Inc., 9 F.3d 849, 853 (10th Cir. 1993);

 accord Gottlieb v. Barry, 43 F.3d 474, 483 (10th Cir. 1994) (holding that, although

 either method is permissible in common fund cases, “Uselton implies a preference for

 the percentage of the fund method”). Because this is a common fund case and because

 plaintiffs’ fee request is for a percentage of the common fund, the Court should evaluate

 the attorney's fees award using the percentage of the fund approach. See Rothe v.

 Battelle Memorial Institute, 2021 WL 2588873 (D. Colo. June 24, 2021) citing Brown v.

 Phillips Petroleum Co., 838 F.2d 451, 454 (10th Cir. 1988) (distinguishing common fund

 and statutory fees cases).

        The “percentage reflected in a common fund award must be reasonable [and] the

 district court must ‘articulate specific reasons for fee awards’.” Brown, 838 F.2d at 454


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 (quoting Ramos v. Lamm, 713 F.2d 546, 552 (10th Cir. 1983)). In determining the

 reasonableness of a percentage award, courts must apply the factors9 set forth in

 Johnson v. Ga. Highway Express, Inc., 488 F.2d 714, 717 (5th Cir. 1974). Rothe v.

 Battelle Memorial Institute, 2021 WL 2588873 (D. Colo. June 24, 2021).

         In the matter sub judice, Plaintiffs’ counsel seek attorneys’ fees in the amount of

 $1,227,900, which represents a fee equal to 30% of the common fund, along with

 reimbursement of costs and expenses in the amount of $45,765.83. The state laws at

 issue here all provide that the employer is liable for attorneys’ fees and costs when the

 employer fails to provide the overtime compensation required by those state laws.

         Significantly, the Proposed Settlement will allow 90% recovery of damages for the

 Illinois Class members, as well as 36% and 25% of the unpaid overtime wage for class

 members of the two states which were dismissed from the lawsuit, while avoiding

 litigation risks that could threaten recovery. This is an excellent result for the Class as a

 whole, and weighs very heavily in favor of approving the amount of fees requested. See

 Rothe v. Battellee Memorial Institute, Supra, and In re King Res. Co. Sec. Litig., 420 F.

 Supp. 610, 630 (D. Colo. 1976) (noting that "the amount of the recovery, and end result

 achieved are of primary importance" when considering what constitutes a reasonable

 attorney fee).

         As part of the litigation, counsel for Plaintiffs investigated the case prior to and

 after filing the complaint, including interviewing numerous employees and reviewing


 9 Which are: (1) the time and labor involved; (2) the novelty and difficulty of the questions; (3) the skill
 requisite to perform the legal service properly; (4) the preclusion of other employment by the attorney due
 to acceptance of the case; (5) the customary fee; (6) any prearranged fee-this is helpful but not
 determinative; (7) time limitations imposed by the client or the circumstances; (8) the amount involved
 and the results obtained; (9) the experience, reputation, and ability of the attorneys; (10) the
 undesirability of the case; (11) the nature and length of the professional relationship with the client; and
 (12) awards in similar cases.


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 voluminous documents and compiling databases of employment and payroll data.

 During discovery, Plaintiffs interviewed multiple employees, further reviewed

 documents, and responded to extensive discovery requests. Class Counsel has spent

 significant amount of time preparing plaintiffs’ affidavits, and documents for class

 certification; interviewed numerous class members; working with their expert witness

 and third-party data vendor; and, spent considerable time preparing for and conducting

 mediation. Over more than two years of litigation, Plaintiffs were represented by five

 attorneys from three different law firms, all of whom employed support staff, an

 economics expert witness, and a third-party vendor to aid in formatting the evidence

 required to prove the claims involved.

        The wage and hour issues in this litigation are governed by highly technical state

 statutes and regulations, including the differing laws of Illinois, New Mexico, and

 Michigan. Class counsel was well equipped to address the unique challenges and

 anticipated defenses posed to Plaintiffs’ ability to recover in this case. Ultimately, Class

 Counsel successfully negotiated a settlement that provides meaningful recovery for the

 Plaintiff class.   “Attorneys attempting to handle a large class are precluded by the

 ticking of the clock from taking certain other cases given that they have decided to take a

 chance on a possible recovery in a contingent fee case.” Whittington v. Taco Bell of

 America, Inc., 2013 WL 6022972 at *6 (D. Colo. Nov. 13, 2013). Class Counsel

 collectively spent significant hours on this case on a contingent fee basis and were,

 thereby, required to forego other work to undertake this case.

         “The customary fee to class counsel in a common fund settlement is

 approximately one-third of the economic benefit bestowed on the class.” Anderson v.

 Merit Energy Co., 2009 WL 3378526, at *3 (D. Colo. Oct. 20, 2009); see also Shaw v.


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 Interthinx, Inc., 2015 WL 1867861, at *6 (D. Colo. Apr. 22, 2015) (citing cases holding

 that fees within the 20-50% range are “presumptively reasonable”). The requested and

 agreed to fee in the Proposed Settlement amounts to 30% of the common fund. This is

 well within the percentage range approved in similar cases. See e.g., Whittington, 2013

 WL 6022972, *6.

        Class Counsel undertook the representation on a contingency basis. Courts have

 recognized the importance of such arrangements, noting that many workers “cannot

 afford to retain counsel at fixed hourly rates ... yet they are willing to pay a portion of

 any recovery they may receive in return for successful representation.” Rothe v.

 Battellee Memorial Institute, 2021 WL 2588873 (D. Colo. Jun3 24, 2021) citing Wells v.

 Sullivan, 907 F.2d 367, 371 (2d Cir. 1990). Thus, “contingency fees provide access to

 counsel for individuals who would otherwise have difficulty obtaining representation ...

 and transfer a significant portion of the risk of loss to the attorneys taking a case.” Rothe

 quoting In re Abrams, 605 F.3d 238, 245-46 (4th Cir. 2010). “Access to the courts

 would be difficult to achieve without compensating attorneys for that risk.” Id. Courts

 have consistently found that this type of fee arrangement, under which counsel runs a

 significant risk of nonpayment, weighs in favor of the reasonableness of a requested fee

 award. See, e.g., Farley v. Family Dollar Stores, Inc., WL 5488897, at *4 (D. Colo. Oct.

 30, 2014). In this case, Class Counsel would not have recovered any of their fees and

 out- of-pocket costs had they not obtained a settlement or prevailed at trial. This factor

 thus weighs in favor of the requested fees because Class Counsel assumed significant

 risk of nonpayment when they agreed to represent the Named Plaintiffs on a

 contingency fee basis.




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        “[T]he most critical factor in determining the reasonableness of a fee award is the

 degree of success obtained.” Farrar v. Hobby, 506 U.S. 103, 114 (1992) (internal

 quotation marks omitted). See also Dalal v. Alliant Techsystems, Inc., 927 F. Supp.

 1374, 1381 (D. Colo. 1996) (“The degree of success a plaintiff enjoys is a critical factor in

 determining the amount of fees to be awarded.” (Internal citations and quotations

 omitted)). Here, the $4,093,000.00 settlement represents a significant recovery on

 behalf of the settlement classes in light of the numerous risks. Further, the net

 settlement fund (total settlement fund minus attorneys’ fees and costs, service awards,

 and settlement administration costs) represents 90% of the claimed unpaid wages and

 statutory liquidated damages for the Illinois Class plus 36% and 25% of the unclaimed

 wages for claims in the two states which were dismissed from the action. Given the risks

 involved, the Class Counsel believes that the relief provided by the settlement represents

 an excellent result for the settlement class.

        D. A Final Approval Hearing Should Be Scheduled.

        Plaintiffs request that the Court schedule a final approval hearing to determine

 whether final approval of the Settlement is proper. The final approval hearing will

 provide a forum to explain, describe or challenge the terms and conditions of the

 Settlement, including fairness, adequacy and reasonableness of the Settlement. At that

 time, Class Counsel will present their final application for their fees pursuant to Rule

 23(h). Accordingly, if the Court grants this motion, Plaintiffs request that the Court

 schedule the final approval hearing no earlier than ninety (90) calendar days from the

 date of the filing of this motion, as required by 28 U.S.C. 1715(d).


 V.     CONCLUSION



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       For the foregoing reasons, the Plaintiffs request that this Court enter the

 proposed Preliminary Approval Order, which, inter alia: (1) asserts jurisdiction over the

 implementation and administration of the Settlement Agreement; (2) approves notice of

 the Settlement as set forth in the Settlement Agreement as the Settlement falls within

 the range of reasonableness, and may be adjudicated to be fair, reasonable, and

 adequate within the meaning of Fed. R. Civ. P. 23 and the CAFA, upon final

 consideration thereof at the Final Approval Hearing; (3) approves the Individual

 Settlement Payments listed on the Payout Sheet attached as Exhibit A-1 to the

 Settlement Agreement; (4) approves, as to form and content, the Settlement Notice,

 attached as Exhibit A-2 to the Settlement Agreement and authorizes the first-class

 mailing of a Settlement Notice to all members of the Settlement Class; (5) approves and

 appoints Rust Consulting as the third-party Settlement Administrator who will

 administer this Settlement; (6) sets a thirty (30) calendar day deadline (from the date

 the Settlement Notice is postmarked to members of the Settlement Class) for the

 execution and return of requests for exclusion and/or objections; and, (7) sets the final

 approval hearing for a date no earlier than ninety (90) calendar days after preliminary

 approval is granted by this Court.

                                                Respectfully Submitted,

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 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was electronically filed and served
 upon all counsel of record through the Court’s Case Management and Electronic Case
 Filing (CM/ECF) system on August 16, 2021.

                                                /s/ J. Robert Cowan__________
                                                Co-Counsel for Plaintiffs




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